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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                 :
JILL STEIN, RANDALL REITZ,                       :
ROBIN HOWE, SHANNON KNIGHT,                      :
and EMILY COOK,                                  :
                                                 :
                      Plaintiffs,                :
                                                 :
against                                          :   No. 16-CV-6287 (PD)
                                                 :
KATHY BOOCKVAR, in her official                  :
capacity as Secretary of the                     :
Commonwealth; and JONATHAN                       :
MARKS, in his official capacity as               :
Commissioner of the Bureau of                    :
Commissions, Elections, and                      :
Legislation,                                     :
                                                 :
                      Defendants.                :
                                                 :


                  DECLARATION OF MONIQUE NESMITH-JOYNER

I, Monique Nesmith-Joyner, make this declaration and aver as follows:

   1. I have been employed by the City of Philadelphia (the “City”) for the past two years,
      including one year as the Procurement Commissioner. As Procurement Commissioner, I
      am responsible for directing the City’s procurement efforts in key purchasing areas—
      services, supplies, equipment, construction, and concessions—and activities, including
      ensuring all Department activities conform to the letter and spirit of the laws and policies
      regarding integrity and ethical conduct, ensuring the procurement needs of City
      departments and agencies are met in a timely and cost-efficient manner through the
      establishment of City contracts, cooperative purchasing agreements, or other such
      contracting methodology as appropriate. I also am responsible for working with the City
      Solicitor to approve the procurement of goods and services and ensure sufficient bonds
      for the City.

   2. During 2018 and 2019, the Procurement Department was involved in the City’s and the
      Philadelphia County Board of Elections’ (the “Board”) effort to procure a new voting
      system for use in elections in Philadelphia. Through that process, the City and the Board
      selected, procured, and implemented Election Systems & Software’s (“ES&S”)
      ExpressVote XL voting system. I am familiar with the facts set forth herein regarding the


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   procurement of a new voting system for Philadelphia through my role as Procurement
   Commissioner.

                  Background to the Acquisition of a New Voting System

3. During 2018, Pennsylvania Governor Tom Wolf and the Department of State repeatedly
   urged counties to acquire new voting equipment that would provide a “paper record” of
   votes cast. See, e.g., February 9, 2018 Statement, available at
   https://www.governor.pa.gov/newsroom/governor-wolf-statement-directive-new-voting-
   machines-paper-record/; April 2, 2018 Statement, available at
   https://www.media.pa.gov/Pages/State-Details.aspx?newsid=276.

4. Although the City and Board had been working towards acquiring a new voting system in
   or around 2022, by early 2018 it was clear that this timeline should be accelerated to
   acquire a system that could be used no later than the November 2019 General Election.

5. The City and Board moved forward as quickly as possible in order to comply with the
   gubernatorial mandate. The expedited process—which included obtaining authorization
   for the expenditure of approximately $30 million and the coordination of personnel from
   eight City departments—required 16 months to complete from the point when the
   Procurement Department became engaged in February of 2018 through the final
   execution and conformance of the contract with ES&S. This does not include the
   subsequent work to implement the new voting system, described in detail in the
   Declaration of Joseph Lynch, which is beyond the role of the Procurement Department
   and takes place afterwards.

                The Procurement Process for the City’s New Voting System

6. Voting systems concern the work of many City departments and require diverse expertise
   ranging from election-specific knowledge to technology to community engagement. As a
   result, the procurement of a new voting system for Philadelphia necessitated the
   involvement of at least eight City departments: the City Commissioners, the Procurement
   Department, the Office of Innovation and Technology (“OIT”), the Chief Administrative
   Office, the Office of the Director of Finance, City Council, the Law Department, and the
   Mayor’s Office.

7. The formal procurement process began in February 2018.

8. The City developed an “aggressive” timeline for the procurement process that would
   allow a new voting system to be procured in time for use in the November 2019 General
   Election.

9. An early step in this process was the preparation of a Request for Information (“RFI”).
   An RFI is a publicly issued request that provides respondents to that request with the
   opportunity to submit information to the City that may be relevant to the preparation of a
   Request for Proposals (“RFP”), which is the process through which vendors bid for the
   opportunity to obtain the contract with the City.



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10. The RFI was issued on June 4, 2018, with responses due no later than July 17, 2018.

11. Once the responses to the RFI were received, they were reviewed and an RFP was
    drafted. Because the contract was to be awarded on a “Best Value” basis, a justification
    form was also provided as part of that process.

12. Concurrent with the RFI and RFP drafting processes, the City Commissioners and OIT
    visited and observed primary elections in Monongalia, West Virginia and St. Louis,
    Missouri in May and August 2018, respectively.

13. Once the Board had developed a draft RFP, the RFP had to be reviewed by the
    Procurement Department to ensure the appropriate terms and conditions were included.

14. Once the draft RFP was approved by Procurement, it needed to be approved by the Local
    Contract Opportunity Review Committee (LCORC). Because LCORC only meets once
    per month, RFPs must be submitted for review by the first Monday of the month.

15. The City posted the RFP publicly on November 30, 2018, with proposals due on
    December 28, 2018.

16. Proposals are reviewed by a selection committee governed by Procurement Department
    regulations and guidelines for Best Value RFPs. The selection committee must have
    diverse membership with a diversity of experience, with members chosen by each of the
    involved departments and approved by the Procurement Commissioner.

17. Upon receiving the proposals to the RFP, the Committee began reviewing them. Because
    the Selection Committee includes individuals from departments other than Procurement,
    the Committee’s first meeting generally consists of an overview of the review and
    scoring process as well as the confidentiality requirements. Committee members then
    individually review the proposals, and subsequent meetings are devoted to examining the
    contents of the proposals individually and considering the scores assigned by Committee
    members. Vendors whose proposals the Committee decides to move forward with are
    then invited to provide demonstrations to the Committee, after which Committee
    members can revise their scores. The Committee then meets again to further discuss the
    revised scores. At this point, the Committee may request best and final offers from the
    vendors, after which the Committee scores the proposals based on price. Finally, the
    Committee provides its joint scores and recommended proposal(s) to me.

18. Here, the Committee conferred multiple times a week to consider the responses, met at
    least 10 times, and, ultimately, on February 12, 2019, provided a recommendation to me
    that two of the proposals for voting machines were substantially similar.

19. At this point, I provided information to the Board of Elections so that the Board could
    determine which voting system and proposal should be selected for use in Philadelphia’s
    elections.

20. In addition to the procurement process required for the acquisition of a new voting
    system, the City also had to conduct – and continues to conduct – procurement processes


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   for storage and transportation of the system. These include temporary and permanent
   warehouse spaces to house the new equipment and a logistics contract for the delivery,
   set-up, and removal of the ES&S voting machines at the polling locations. Although the
   City had vendors that previously provided some of these services, the contracts had to be
   modified because of, among other things, the different maneuverability of the machines,
   the different ways the machines nest (or stack), their inability to withstand inclement
   weather or be carried over steps at scores of polling locations, and the number of trucks
   and staff needed to deliver the machines in time for an election.

21. Procurement and the Board also set up a pilot contract with the logistics company to
    complete a smaller trial delivery run with the new machines before an actual election
    where votes needed to be counted. The add-on to the logistics contract for the pilot alone
    required an additional three weeks to complete.

               Purchasing a New Voting System Requires a Lengthy Process

22. If the City’s voting machines are decertified, the City may have to conduct all of the
    above procurement processes again. Because additional voting systems have been
    certified by the State since the Board’s previous selection, and because of the comments
    the Board and City received during the process, the Board could not simply re-issue the
    same RFP. Instead, the RFP may need to be redrafted or even a revised RFI may need to
    be issued to seek additional information to craft such a revised RFP.

23. As with the prior procurement process, each of these procurement processes would need
    to comply with the processes mandated by the Philadelphia Home Rule Charter and Best
    Value Regulations, as well as other City processes such as LCORC.

24. In addition, additional appropriations from City Council might be required to procure a
    new voting system. That process would require: 1) a bill to be introduced by a member
    of Council; 2) scheduling of a public hearing before a committee of Council on the bill;
    3) advertisement of the committee hearing for 5 days before the hearing; 4) holding of the
    public committee hearing, which may not be scheduled for weeks, and solicitation of
    public comment; 5) recommendation of the bill out of committee to Council; 6) printing
    of the bill as amended; 7) first reading of the bill in City Council; 8) second reading of
    the bill in City Council and final passage at least a week later; and 8) approval of the
    Mayor within two weeks, or disapproval within two weeks, returning of the disapproved
    bill to Council, and another vote where the bill passes with a 2/3 majority within another
    seven days. The process can be lengthened based on how long it takes to gain the support
    of Councilmembers.

25. Procurement estimates that approximately 5 to 7 additional weeks would be required to
    get a bill through City Council, plus up to 2 additional weeks for mayoral enactment.
    This time could be longer depending on the complexity of the ordinance and the level of
    political interest.




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26. In addition, the Board of Elections would also have to approve the use of any new voting
    machines for elections in Philadelphia before a contract could be awarded and the final
    contract negotiation and conformance process could begin.

27. Furthermore, the logistics contract for the delivery, set-up, and removal of the new
    system could require a substantial amount of time, as the previous negotiations required
    an additional 8 weeks from the point that Procurement became engaged and required the
    involvement of the Law Department, Finance, Risk Management, among others, to
    complete.

28. Should another trial delivery run be required, that could add another three weeks to the
    process.

29.   During 2019, the City employed as rigorous a process as possible under strict time
      constraints, which still took 16 months. However, that process still came under the
      scrutiny of the City Controller and the public for proceeding too quickly. Given this, the
      City would have to consider including time for additional public testing and commentary
      were it to have to conduct a new voting machine purchase process. As a result, I expect
      the entire procurement process for a new voting system would take 18 to 24 months at a
      minimum.



                                   [Intentionally left blank]




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